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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

IN RE:                                               §
                                                     §
ERIN ENERGY CORPORATION                              §                      CASE NO. 18-32106
                                                     §                       (Chapter 11)
          Debtor.                                    §


                                NOTICE OF APPEARANCE OF COUNSEL

          PLEASE TAKE NOTICE that Pasadena Insurance Agency, Inc., creditors in the above-

styled case, pursuant to Bankruptcy Rule 9010(b), hereby requests that all notices given or required

to be given in this case and in any cases consolidated herewith, and all papers served or required

to be served in this case, and in any cases consolidated herewith, be given to and served upon the

following:

                                          Michael J. Durrschmidt
                                       Hirsch & Westheimer, P.C.
                                        1415 Louisiana, 36th Floor
                                          Houston, Texas 77002
                                        Telephone: 713-220-9165
                                         Facsimile: 713-223-9319
                                  E-mail: mdurrschmidt@hirschwest.com

This request encompasses all notices, copies, and pleadings referred to in Rules 2002, 3017, and

9007 of the Bankruptcy Rules of Procedure, including, without limitation, notices of any orders,

motions, demands, complaints, petitions, pleadings or requests, applications, and any other

documents brought before this Court in this case, whether formal or informal, written or oral, and

whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or otherwise, which

affect or seek to affect the captioned proceeding.

          Respectfully submitted this 26th day of April, 2018.




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                                              HIRSCH & WESTHEIMER, P.C.

                                              By: /s/ Michael J. Durrschmidt
                                                     Michael J. Durrschmidt
                                                     Texas Bar No. 06287650
                                                     1415 Louisiana, Floor 36
                                                     Houston, Texas 77002
                                                     Telephone: 713-220-9165
                                                     Facsimile: 713-223-9319
                                                     E-mail: mdurrschmidt@hirschwest.com

                                              ATTORNEYS FOR PASADENA
                                              INSURANCE AGENCY, INC.



                                CERTIFICATE OF SERVICE

        I, Michael J. Durrschmidt, hereby certify that on the 26th day of April, 2018, a copy of the
foregoing Notice of Appearance of Counsel was served via first class mail, postage prepaid, and/or
via the Clerk of the Court through the ECF system.


                                                  /s/ Michael J. Durrschmidt
                                                  Michael J. Durrschmidt




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